                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


IN RE:

HAITHAM MASRI,                                    Case No. 10-61010
                                                  Chapter 7
           Debtors.                               Hon. Marci B. McIvor
______________________________/

WENDY TURNER LEWIS, TRUSTEE,

               Plaintiff,

v.                                                Adv. No. 10-7578

FATINA MASRI; F&H PROPERTIES, L.P.;
H&F TIRES, L.P.; OPTIMA INVESTMENT
GROUP, L.P.; PRECISION REAL ESTATE
INVESTMENTS, LLC; H&F AUTOMOTIVE,
L.P.; PROSPECT ASSOCIATES, L.L.C.;
SUPERIOR INVESTMENTS, L.P.; MASRI
ASSOCIATES, INC.; M&M MANAGEMENT
II, LP; H&F HOMES, LP; MASRI CLINIC
FOR LASER AND COSMETIC SURGERY,
LLC; ULTIMA FAMILY HOLDINGS, LP;
M&M MANAGEMENT I, LP; M&M TIRES,
LP; M&M DRUGS, LP; H&F
ENTERPRISES, INC. ; H&F TRANSPORT,
LP; H&F MASRI, LP; and MASRI CLINIC FOR
LASER AND COMETIC SURGERY, PLLC,

               Defendants.

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  ORDER DENYING MOTION FOR DISMISSAL OR FOR SUMMARY JUDGMENT
(Docket # 57) FILED BY DEFENDANTS’ F&H PROPERTIES, L.P., H&F TIRES, L.P.,
                   AND OPTIMA INVESTMENT GROUP, L.P.

         For the reasons set forth in the attached Opinion;

         IT IS HEREBY ORDERED that Defendants F&H Properties, LP, H&F Tires, LP,




 10-07578-mbm         Doc 96    Filed 09/23/11   Entered 09/23/11 16:05:41   Page 1 of 2
and Optima Investment Group, LP’s Motion to Dismiss or for Summary Judgment is

denied.



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Signed on September 23, 2011




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 10-07578-mbm      Doc 96      Filed 09/23/11       Entered 09/23/11 16:05:41   Page 2 of 2
